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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

ANTHONY R. TURNER,

      Plaintiff,
v.                                    Case No.:

TCF ELECTRIC, LLC d/b/a
MR. ELECTRIC OF LUTZ,

    Defendant.
________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, ANTHONY R. TURNER (hereinafter “Plaintiff”), by and through

undersigned counsel, brings this action against Defendant, TCF ELECTRIC, LLC

d/b/a MR. ELECTRIC OF LUTZ (hereinafter “Defendant”), and in support of his

claims states as follows:

                            JURISDICTION AND VENUE

      1.     This is an action for damages under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages under 29

U.S.C. § 215(a)(3).

      2.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331

and 29 U.S.C. § 201 et seq.

      3.     Venue is proper in the Middle District of Florida, because all of the

events giving rise to these claims occurred in Hillsborough County, Florida.
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                                        PARTIES

         4.    Plaintiff is a resident of Pinellas County, Florida and he worked for

Defendant in Hillsborough County, Florida.

         5.    Defendant is a Florida limited liability Company in business as an

electrical contractor with an office and place of business located in Odessa, in

Hillsborough County, Florida.

                             GENERAL ALLEGATIONS

         6.    Plaintiff has satisfied all conditions precedent, or they have been

waived.

         7.    Plaintiff has hired the undersigned attorneys and agreed to pay them

a fee.

         8.    Plaintiff requests a jury trial for all issues so triable.

         9.    At all times material hereto, Plaintiff was “engaged in the production

of goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and

as such was subject to the individual coverage of the FLSA.

         10.   At all times material hereto, Defendant was an “employer” within the

meaning of the FLSA, 29 U.S.C. § 203(d).

         11.   Defendant continues to be an “employer” within the meaning of the

FLSA.

         12.   At all times material hereto, Defendant was and continues to be an

enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r) and 203(s).



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      13.    At all times relevant to this action, Defendant was engaged in

interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

      14.    At all times relevant to this action, the annual gross sales volume of

Defendant exceeded $500,000 per year.

                                     FACTS

      15.    Plaintiff began working for Defendant as a senior service electrician

in or around November 2020, and he worked in this capacity until in or around

March 2021.

      16.    At various times material hereto, Plaintiff worked hours in excess of

forty (40) hours within a work week for Defendant, and he was entitled to be

compensated for these overtime hours at a rate equal to one and one-half times

his regular hourly rate.

      17.    Defendant failed to pay Plaintiff an overtime premium for all of the

overtime hours that he worked, in violation of the FLSA.

      18.    Specifically, Plaintiff worked through his lunch breaks due to the way

his work was scheduled, but Defendant still deducted the time for Plaintiff’s

lunch breaks even though he was unable to take a lunch break.

      19.    Defendant was aware that the nature of Plaintiff’s work and/or the

way in which Defendant scheduled Plaintiff’s appointments required Plaintiff to

work though his lunch break.

      20.    Defendant’s actions were willful, and showed reckless disregard for

the provisions of the FLSA.

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                 COUNT I – FLSA OVERTIME VIOLATION

      21.   Plaintiff realleges and readopts the allegations of paragraphs 1

through 20 of this Complaint, as though fully set forth herein.

      22.   During the statutory period, Plaintiff worked overtime hours while

employed by Defendant, and he was not compensated for all of these hours in

accordance with the FLSA.

      23.   The foregoing conduct, as alleged, constitutes a willful violation of

the FLSA, within the meaning of 29 U.S.C. § 255(a).

      24.   As a result of the foregoing, Plaintiff has suffered damages.

      WHEREFORE, Plaintiff demands:

            a)     Judgment against Defendant for an amount equal to Plaintiff’s

                   unpaid back wages at the applicable overtime rate;

            b)     Judgment      against       Defendant   stating   that   Defendant’s

                   violations of the FLSA were willful;

            c)     An equal amount to Plaintiff’s overtime damages as liquidated

                   damages;

            d)     To the extent liquidated damages are not awarded, an award

                   of prejudgment interest;

            e)     A declaratory judgment that Defendant’s practices as to

                   Plaintiff were unlawful, and grant Plaintiff equitable relief;

            f)     All costs and attorney’s fees incurred in prosecuting these

                   claims; and

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          g)     For such further relief as this Court deems just and equitable.

                          JURY TRIAL DEMAND

    Plaintiff demands trial by jury as to all issues so triable.

    Dated this 22nd day of June, 2021.

                                      Respectfully submitted,




                                      CHRISTOPHER J. SABA
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